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IN THE UNITED STATES DISTRICT COURT 05 §FR 25 P;~; _;; 5
FOR THE WESTERN DISTRICT OF TENNESSEE W_, lf_ l

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N'D' G'“" TN, M£..¢,PFJ;TS`

 

KENNETH MOORE, Individually,
and on behalf of all persons similarly
situated,

Plaintiffs, Case No. 00-2577 D V

VS.

DOMINO’S PIZZA, L.L.C., d/'b/a
DOMINO’S PIZZA and
DOMINO’S PIZZA INC., db/a
DOMINO’S PIZZA,

Defendants.

 

ORDER WITHDRAWING ORDER OF REFERENCE

 

The Court hereby Withdraws its Order of Reference dated Apri] ll, 2005, in the above-

referenced case.

IT IS 80 0RDERED this ,Z,[ day of gail /:;V
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léE B.'DONALD \
sTATES DISTRICT JUDGE

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Honorable Bernice Donald
US DISTRICT COURT

